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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI

NORTHERN DIVISION
ED HOLT and PLAINTIFFS
HOLT PROPERTY, LLC
VS. CIVIL ACTION NO. 3:15ev552 DPJ-FKB
SWAIN AUTOMOTIVE, INC. DEFENDANT
ORDER OF DISMISSAL

THIS MATTER is before the Court on the joint ore tenus motion of the parties for
dismissal and. the Court having considered same, finds that the parties have reached an
amicable settlement of this matter and this action should be dismissed.

IT 18, THEREFORE, ORDERED AND ADJUDGED that this matter is hereby
dismissed with prejudice, with each party bearing their respective costs.

SO ORDERED AND ADJUDGED this the 2 day,of November, 2015,

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